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 Exhibit A
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                                        DECLARATION OF REBECCA HANSON,
                  ASSSISTANT PROFESSOR OF SOCIOLOGY AND CRIMINOLOGY AT THE
                                    UNIVERSITY OF FLORIDA


                     I, Rebecca Hanson, declare the following under 28 U.S.C. § 1746, and state that under

            penalty of perjury the following is true and correct to the best of my knowledge and belief:

            Summary

                     1.      The Venezuelan gang Tren de Aragua (“TdA”) is a loose, disorganized group.

            There is no evidence that the Maduro regime controls TdA or that the Maduro government and

            TdA are intertwined. Nor is there evidence that the Maduro regime has directed the TdA to enter

            the United States or directed any TdA activities within the country. Moreover, it has no

            structured presence in the United States, and its members cannot be identified using indicia like

            tattoos or hand gestures.

            Qualifications

                     2.      I received my Ph.D in Sociology from the University of Georgia in 2017. My

            doctoral dissertation was entitled “Civilian Policing, Sociality Revolution, and Violent Pluralism

            in Venezuela.”

                     3.      Currently, I am an Assistant Professor at the University of Florida. I have a joint

            appointment in the Departments of Sociology & Criminology and Law, and the Center for Latin

            American Studies. I am also the Director of the University of Florida’s International

            Ethnography Lab. I am currently a visiting fellow at Harvard’s David Rockefeller Center for

            Latin American Studies and Notre Dame’s Kellogg Institute for International Studies.




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                     4.      I have received various grants and other funding related to my work on

            Venezuela, including from the Fulbright Association and Development Bank of Latin America.

            Through these grants, I have studied topics such as policing, gangs, politics, and incarceration in

            Venezuela.

                     5.      I have published numerous peer reviewed articles covering topics from militarized

            policing, gangs and other armed actors in Venezuela, and the security policies of the

            governments of Hugo Chávez and Nicolás Maduro. My work has been published in the Journal

            of Latin American Studies; Crime, Law, and Social Change; and Latin American Research

            Review, among others. My newest book, Policing the Revolution: The Transformation of

            Coercive Power and Venezuela’s Security Landscape During Chavismo, was published by the

            Oxford University Press in 2025.

                     6.      I teach courses on Criminological Theory, Crime and Violence in Latin America,

            Gangs and Society, and Law and Order in Latin America.

                     7.      My opinions derive from over a decade of studies that I have carried out specific

            to the topics of policing, violence, and gangs in Venezuela. Since 2010, I have conducted

            extensive, long-term ethnographic research and interviews with over 200 Venezuelan police

            officers as well as dozens of interviews with gang members and residents of communities where

            these gangs operate. I regularly collaborate with Venezuelan scholars who develop rigorous and

            reliable empirical research in that country.

                     8.      Based on my experience, I have been asked to assess the government’s

            description of the TdA and how it is identifying potential TdA members. My conclusions are set

            out below.



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                     9.      I have read the Proclamation and the Cerna Declaration (ECF No. 26) submitted

            in this case.

                     10.     I provide this declaration based on my personal and professional knowledge.

            Findings and Opinions

                     11.     I have been closely following reporting and politicians’ statements regarding

            recent deportations of Venezuelan migrants and claims about deportees being members of TdA.

            Most of the claims about Tren de Aragua, its relationship to the Maduro government, and its

            supposed presence within the United States lack credible evidence to substantiate them or

            completely contradict what empirical research has demonstrated.

                     12.     The TdA is a relatively new gang that emerged in Tocorón prison around 2014.

            While there are no reliable estimates of current TdA membership, between 2014 and 2017 the

            gang most likely had at most 200 to 300 members. Given a current lack of rigorous research and

            verifiable data I am skeptical of the U.S. government’s ability to correctly estimate current

            membership.

                     13.     TdA does not act as the de facto government in any region of Venezuela.

                     14.     TdA does not have political objectives, and is not an arm of the Maduro

            government.

                     15.     The gang’s established and existing revenue streams and criminal work is largely

            outside the United States. There is no evidence to suggest that drug or arms trafficking or

            transnational extortion are core sources of income for the group. The TdA is a relatively new

            gang with limited resources and therefore relatively limited capacity as compared to peer gangs.




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                     16.     The gang has become increasingly fragmented and decentralized since 2023,

            further limiting its capacity. That year the Venezuelan government began cracking down on

            TdA, including when they sent 11,000 soldiers to raid the Tocorón prison that had been a hub of

            TdA activity. Ultimately, the TdA is of modest prominence and is nowhere near as established as

            other gangs in Central and South America.

                     17.     It is absolutely implausible that the Maduro regime controls TdA or that the

            Maduro government and TdA are intertwined. The relationship between the Maduro government

            and TdA is largely antagonistic. The relationship is best characterized as conflictive and

            competitive, with brief moments of coordination when the government and TDA benefit

            economically and politically from this coordination. For example, the government has, in the

            past, sometimes turned a blind eye to illicit activities in exchange for a reduction in visible

            criminal activity. But there are no clear, direct, and stable links between TdA and the Maduro

            government.

                     18.     The government’s proclamation mentions Tareck El Aissami. Mr. El Aissami has

            not been an important figure in the Maduro regime for the past several years. Maduro’s

            government arrested Mr. El Aissami in April 2024 on charges that he was part of a scheme

            through which hundreds of millions of dollars in state oil proceeds seemingly disappeared. He

            remains incarcerated. At present, the relationship between Mr. El Aissami and the Maduro

            regime is conflictual and antagonistic.

                     19.     There is no credible evidence that TdA has a foothold as a criminal organization

            within the United States. TdA activities are neither widespread nor coordinated within the United

            States. The profile of suspected TdA crimes in the United States do not indicate a systemic


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            criminal enterprise. Rather, the vast majority of arrests of suspected TdA members in the United

            States have been for crimes like shoplifting and cell phone robbery—crimes commonly handled

            by police departments.

                     20.     Nor is there any credible evidence to establish that the Maduro regime has

            directed the TdA to enter the United States or directed any TdA activities within the country.

            Maduro simply does not control the gangs in Venezuela, TdA included. Moreover, there is no

            credible evidence that the migration of young Venezuelan men, with or without criminal records,

            to the United States has been directed by the Maduro government. Instead, research has found

            that this migration is the result of the horrific economic and humanitarian crisis that began in

            2014 and left many families in the country without access to food, healthcare, water, and

            electricity. Human rights organizations have also found that police abuse and repression and

            human rights violations have played a role in some Venezuelans’ decisions to migrate.

                     21.     There is currently no credible way to link Venezuelan migrants in the United

            States to TdA. The methods identified by the government are not reliable.

                     22.     Tattoos are not a reliable way to identify members of the group. The TdA, and

            gangs more generally in Venezuela, do not have a history of using tattoos to indicate

            membership. Indeed, no credible scholarship or studies of gangs in Venezuela indicate tattooing

            as a shared common practice among gang members. TdA members may, of course, have tattoos,

            but this is not part of a collective identity. In fact, many young Venezuelans who have no

            association with the TdA individually opt for personal tattoos based on personally meaningful

            symbols or popular culture iconography. The government’s reliance on tattoos appears to result

            from an incorrect conflation of gang practices in Central America and Venezuela. In countries


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            like El Salvador and Honduras, gangs have long used tattoos to indicate membership and

            identity.

                     23.     Hand gestures are also not a credible way to identify the TdA. There are no

            formal hand gestures associated with the group. Overall, I am aware of no iconography or

            unifying cultural motifs, such as symbols, insignias, logos, notations, graffiti tags, music, or

            drawings associated with it. Nor does the gang have a typical manner of dress. Other gangs in

            Central and South America might have certain hand gestures, symbols, or dress associated with

            them, but not the TdA.

                     24.     I have reviewed law enforcement bulletins provided to me through a Freedom of

            Information Act request by the nonprofit Property of the People. These documents indicate

            various tattoos that law enforcement agencies believe to be associated with TdA. Far from being

            indicative of TdA members, the tattoos identified were merely representative of the cultural

            milieu of poor and working-class neighborhoods in Venezuela. For example, the government

            highlighted tattoos with the phrase “Real Hasta la Muerte.” That is an album by a Puerto Rican

            rapper that is popular in Venezuela. The bulletin from the Chicago Homeland Security

            Investigations Office also said that wearing a Chicago Bulls basketball jersey, especially a

            Michael Jordan jersey, was an identifier of TdA. But NBA basketball—and Michael Jordan in

            particular—are very popular in Venezuelan culture. Venezuelans also take great pride when their

            fellow Venezuelans are on U.S. professional sports teams, especially baseball and basketball

            teams. Using sports attire from U.S. professional sports teams with Venezuelan nationals on

            them to identify TdA membership is simply not credible.




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                     25.     The government has also stated it uses previous criminal records to identify TdA

            members in the United States. However, the U.S. government has no reliable access to criminal

            records within Venezuela. Given the current contentious relationship between the U.S. and

            Venezuelan governments, it is implausible that Venezuelan security institutions would share

            these records with ICE or other police departments in the United States.

                     26.     Indeed, statements made by ICE demonstrate an alarming unfamiliarity with the

            TdA. For example, on March 21, 2025, ICE agents announced they had arrested two TdA gang

            members from Venezuela that had been hiding in the U.S. since 2003. 1 However, the assertion

            that TdA gang members have been in hiding in the U.S. since 2003 is illogical given that TdA

            did not exist until 2014.

                     27.     At bottom, the TdA is a loose, disorganized group that has weakened significantly

            since 2023. It is not acting at the direction of the Maduro regime, it has no structured presence in

            the United States, and its members cannot be identified using indicia like tattoos or hand

            gestures.

                     28.     Finally, individuals who are erroneously labeled as TdA members face enormous

            risk if they are returned to Venezuela. Being labeled as a TdA associate puts that person in grave

            danger because they may be targeted by police and other gang members.


            Executed on 27th of March, 2025, in Notre Dame, Indiana.


                                                                                _________________________
                                                                                            Rebecca Hanson

            1
             See ICE, X.com (Mar. 21, 2025), available at
            https://x.com/ICEgov/status/1903250363332903128.


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